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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
UNITED STATES OF AMERICA,

                       Plaintiff,
                                                               Criminal Case No. 04-80370
v.                                                             Hon. John Corbett O’Meara

ALI ABDUL KARIM FARHAT, et al.,

                  Defendants.
________________________________/

           ORDER DENYING WITHOUT PREJUDICE DEFENDANT ABDUL
          HALIM BERRO’S MARCH 1, 2005 MOTION FOR SEPARATE TRIAL

       Defendant Abdul Halim Berro has been joined with eleven co-defendants in a complaint

alleging a multi-part fraud conspiracy. On March 1, 2005, Defendant filed a motion for a

separate trial, claiming that his alleged acts arose from different transactions than the acts of his

co-defendants. The government responded on March 15, 2005. A number of Berro’s co-

defendants have joined in this motion. The court, having reviewed the submissions of the

parties, finds that Defendant was not improperly joined pursuant to Federal Rule of Criminal

Procedure 8(b) because his acts was included in the same series of acts or transactions as the

other defendants. The court further finds that Defendant’s motion for severance pursuant to Rule

14(a) is prematurely filed. It is conceivable that Defendant might be able to show substantial

prejudice, but the court is not prepared to rule on this matter at this time.

       Accordingly, IT IS HEREBY ORDERED that Defendant Abdul Halim Berro’s March

1, 2005 Motion for Separate Trial is DENIED WITHOUT PREJUDICE.


                               s/John Corbett O’Meara
                               John Corbett O’Meara
                               United States District Judge
Dated: May 6, 2005
